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NOT FOR PUBLICATION

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

                                    :
HARVEY D. WOLINETZ, et al.,         :
                                    :    CIVIL ACTION NO. 08-5046 (MLC)
      Plaintiffs,                   :
                                    :           MEMORANDUM OPINION
      v.                            :
                                    :
ELIYAHU WEINSTEIN, et al.,          :
                                    :
      Defendants.                   :
                                    :
                                    :
ELIYAHU WEINSTEIN, et al.,          :
                                    :
      Third-Party Plaintiffs,       :
                                    :
      v.                            :
                                    :
ARTHUR FEIN, et al.,                :
                                    :
      Third-Party Defendants.       :
                                    :

COOPER, District Judge

      Plaintiffs commenced this action against Eliyahu Weinstein

(“Weinstein”), Rivka Bichler, New Cedar Holdings, LLC, Ocean

Realty 101, LLC, Pine Projects, LLC (“Pine Projects” and,

together with Weinstein, “defendants”), NH-K Memphis, LLC, Simcha

Shain, Elana Shain, and Michael Gindi.         (Dkt. entry no. 1, Compl.

at 1-2, 5-6.)     Plaintiffs assert claims of, inter alia, (1)

fraud, (2) breach of fiduciary duty, (3) conversion, (4) unjust

enrichment, (5) breach of contract, and (6) civil conspiracy.

(See id.)    Defendants assert counterclaims against plaintiffs and

third-party claims against Arthur Fein and Arthur Fein
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Enterprises, Inc. (collectively, “third-party defendants”).

(Dkt. entry no. 21, Answer, Cross-Cl., Countercl. & 3d Party

Compl. (“Countercl. & 3d Party Compl.”).)1          Plaintiffs and third-

party defendants now move, together, to (1) dismiss the

counterclaims and the Third-Party Complaint for failure to state

a claim, and (2) compel Weinstein to (a) surrender his passport

during the pendency of the action and (b) submit a detailed list

of his assets.     (Dkt. entry no. 38, Mot. to Dismiss.)         Defendants

oppose the motion.      (Dkt. entry no. 43, Defs. Br.)       The Court,

for the reasons stated herein, will (1) deny the motion in its

entirety without prejudice and with leave to move again at the

appropriate time, and (2) direct defendants to move to file

amended counterclaims and an amended third-party complaint.

                                 BACKGROUND

      Plaintiff Harvey D. Wolinetz (“Wolinetz”) allegedly provided

defendants with approximately $76 million for investment in real

estate ventures.      (Compl. at 2.)       Plaintiffs identify twelve

properties that defendants were supposed to purchase, and

plaintiffs were supposed to obtain an interest in, with the funds

supplied by Wolinetz.      (Id. at 3.)       Plaintiffs allege that

defendants, rather than investing in the specified properties,

      1
        Defendants purport to name H.D.W. 2005, LLC as a third-
party defendant. (Countercl. & 3d Party Compl. at 16.) H.D.W.
2005, LLC, however, is a plaintiff in this action, and therefore
defendants’ claims against it are counterclaims. (See Compl. at
1.)

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defrauded Wolinetz of the $76 million by misappropriating the

money for their own gain and leaving plaintiffs without any

meaningful interest in the specified properties.           (Id. at 2.)

       Defendants claim that plaintiffs and third-party defendants

provided financing to Pine Projects and left the allocation of

that financing to defendants’ discretion.          (Countercl. & 3d Party

Compl. at 17.)     Pine Projects allocated that financing to

“various real estate ventures,” including “[m]any, if not all, of

the properties identified in plaintiffs’ complaint.”            (Id. at 17-

18.)    “For many of these properties,” Pine Projects transferred

title or control of the properties to plaintiffs and/or third-

party defendants.       (Id. at 18.)   Plaintiffs and third-party

defendants agreed to exercise care, take responsibilities and

manage the properties for the benefit and interests of

defendants.     (Id.)    Defendants assert that plaintiffs and third-

party defendants mismanaged these properties and the properties

lost value.     (Id.)    Further, defendants claim to have an

entitlement to share in the upside interest when the properties

are sold to a third party.       (Id. at 21.)     Defendants assert

claims based on plaintiffs’ and third-party defendants’

mismanagement of “the properties” for (1) breach of fiduciary

duty, (2) breach of contract, (3) breach of the implied covenant

of good faith and fair dealing, (4) negligence, (5) declaratory

judgment, (6)-(7) constructive trust, and (8) unjust enrichment.


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(Id. at 21-27.)2     Plaintiffs and third-party defendants now move

to (1) dismiss the counterclaims for, inter alia, failure to

state a claim, and (2) compel Weinstein to (a) surrender his

passport for the duration of the action and (b) submit a detailed

list of his assets.      (Mot. to Dismiss.)     Defendants oppose the

motion.    (Defs. Br.)

                                 DISCUSSION

I.    Motion to Dismiss Standard

      The Court may dismiss a complaint for “failure to state a

claim upon which relief can be granted.”          Fed.R.Civ.P. 12(b)(6).

On a motion to dismiss, the Court generally must accept as true

all of the factual allegations in the complaint, and must draw

all reasonable inferences in favor of the plaintiff.            Cal. Pub.

Employees’ Ret. Sys. v. Chubb Corp., 394 F.3d 126, 134 (3d Cir.

2004); Doe v. Delie, 257 F.3d 309, 313 (3d Cir. 2001).            The

Court, however, need not credit bald assertions or legal

conclusions alleged in the complaint.         Kanter v. Barella, 489

F.3d 170, 177 (3d Cir. 2007).        The plaintiff’s “[f]actual

allegations must be enough to raise a right to relief above the

speculative level, on the assumption that all the allegations in

the complaint are true (even if doubtful in fact).”            Bell Atl.

      2
        Defendants combined their counterclaims and Third-Party
Complaint into one document with one set of claims. (See
Countercl. & 3d Party Compl.) The Court will refer to the
counterclaims and the claims against the third-party defendants
collectively as “counterclaims.”

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Corp. v. Twombly, 127 S.Ct. 1955, 1965 (2007) (citation omitted).

While plaintiffs are not required to plead all the facts serving

as a basis for the claim, the complaint must “provide the

opponent with fair notice of a claim and the grounds on which

that claim is based.”      Kanter, 489 F.3d at 175; see also Allia v.

Target Corp., No. 07-4130, 2008 WL 1732964, at *3 (D.N.J. Apr.

10, 2008).

II.   Motion to Dismiss Standard Applied Here

      Plaintiffs and third-party defendants argue that the

counterclaims should be dismissed because they fail to state a

claim upon which relief can be granted and they are not yet ripe

for adjudication.      (Dkt. entry no. 38, Pls. Br. at 3.)        Also,

plaintiffs and third-party defendants argue that the

counterclaims are vague and fail to identify, with one exception,

the properties involved and to whom title or control of the

properties was transferred.       (Dkt. entry no. 44, Pls. Reply Br.

at 4-5.)    Defendants argue that their counterclaims are ripe for

adjudication and sufficiently identify the properties at issue.

(Defs. Br. at 7-8; dkt. entry no. 45, Defs. Sur-Reply Br. at 1-

2.)

      The Court finds that defendants’ counterclaims do not

provide plaintiffs and third-party defendants with notice of the

basis for the counterclaims.        There are nine plaintiffs and two

third-party defendants in this action.         (See Compl. at 1, 4-5;


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Countercl. & 3d Party Compl. at 16.)         The Complaint identifies

twelve different properties involved in plaintiffs’ claims.             (See

Compl. at 3.)     Defendants, with one exception, do not identify

the properties at issue in their counterclaims, but instead refer

to “various properties,” “the properties,” “various real estate

ventures,” “many of these properties,” and “many properties.”

(See Countercl. & 3d Party Compl. at 16-18.)3          Defendants

reference the properties identified in the Complaint, but do not

limit “the properties” at issue in the counterclaims to only

those identified in the Complaint.         (See id. at 16 (“There is

presently a dispute . . . concerning [the parties’] respective

rights and interests in various properties, including the

properties identified in plaintiffs’ complaint.”).)            Further,

defendants do not make allegations against specific plaintiffs or

third-party defendants, instead grouping all eleven parties

together.    (See id.)    Defendants also do not identify to which

specific plaintiffs or third-party defendants they transferred

title or control of the properties, nor which properties were

transferred.     (See id.)    Thus, the Court concludes that the

counterclaims do not put any individual plaintiff or third-party

defendant on notice of the basis of the claims asserted against



      3
        Defendants specifically identify properties located in
Irvington, New Jersey at 9-23 Berkeley Terrace and 794 Grove
Street (collectively, “Berkeley Terrace”). (Countercl. & 3d
Party Compl. at 16.)

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that plaintiff or third-party defendant.          See Allia, 2008 WL

1732964, at *4 (finding that plaintiff did not provide fair

notice to defendants where plaintiff did not specifically

identify the alleged conduct of the defendants constituting the

basis for her claims).

      The Court, however, will not dismiss the counterclaims or

the Third-Party Complaint at this time.         Instead, the Court will

direct the defendants to move to amend their counterclaims and

the Third-Party Complaint to provide fair notice to the

plaintiffs and third-party defendants of the grounds upon which

the counterclaims rest.       Any such motion to amend must comply

with the requirements of Local Civil Rule 7.1, including but not

limited to Rule 7.1(f).       (See Defs. Sur-Reply Br. at 2 (“[I]f the

Court believes that the pleading should have more specifics,

defendants should be granted leave to amend their pleading to set

forth the details.”); dkt. entry no. 46, Pls. 3-16-09 Letter at 2

(stating plaintiffs and third-party defendants agree with

defendants’ request to amend their pleading).)           See Kanter, 489

F.3d at 175; see also Alston v. Parker, 363 F.3d 229, 235 (3d

Cir. 2004) (instructing district court to allow curative

amendment, unless such amendment would be inequitable or futile,

where complaint is vulnerable to 12(b)(6) dismissal, even if

plaintiff has not sought leave to amend); Shane v. Fauver, 213

F.3d 113, 115-16 (3d Cir. 2000) (stating that leave to amend must


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be given, even when not sought, if a claim is vulnerable to

dismissal under 12(b)(6)).

      The Court notes that since the time defendants filed the

Answer and Third-Party Complaint, all claims, including the

cross-claims, against defendant Michael Gindi pertaining to

Berkeley Terrace have been dismissed.         (Dkt. entry no. 42,

Stipulation & Order.)      Also, the Court notes that Michael Gindi,

Wolinetz, H.D.W. 2005, LLC, and Weinstein were parties in a state

court action regarding ownership of Berkeley Terrace.            (See dkt.

entry no. 38, Certification of N. Ari Weisbrot, Ex. C, Compl.)

That state court action was resolved by stipulation among the

parties in which Weinstein, individually and on behalf of all

entities in which he may have any interest, stipulated and agreed

that he has no claim or interest in Berkeley Terrace.            (Defs.

Br., Ex. A, Stipulation.)       The Court instructs defendants to take

these developments into consideration when amending their

counterclaims and the Third-Party Complaint.

III. Motion to Compel Weinstein’s Surrender of Passport and
     Submission of a Detailed List of Assets

      A.    Surrender of Passport

      Plaintiffs and third-party defendants argue that Weinstein

should be made to surrender his passport because there is “a very

real and substantial risk” that he will flee the country to avoid

his creditors.     (Pls. Br. at 17.)      Also, plaintiffs and third-

party defendants assert that Weinstein has “valuable real estate

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properties in foreign countries” and leaves the United States

every month or so to travel abroad.          (Id. at 17-18; Pls. Reply

Br. at 11.)     Defendants respond by arguing that plaintiffs and

third-party defendants have not provided any evidence that

Weinstein is likely to flee the country to avoid litigation or to

remove property from the country.          (Defs. Br. at 10-11; Defs.

Sur-Reply Br. at 4.)      Defendants contend that plaintiffs and

third-party defendants have not made the detailed factual showing

necessary to obtain this extraordinary relief.           (Defs. Br. at

11.)    Also, defendants assert that Weinstein has already appeared

for depositions in other pending litigation involving these

parties, and thus is not a flight risk.          (Id. at 13.)

       The Court finds that it is inappropriate to compel Weinstein

to surrender his passport for the duration of this action.             An

order to surrender a passport is “very rare” in civil cases

outside the matrimonial context.          Merrill Lynch Bus. Fin. Servs.,

Inc. v. Kupperman, No. 06-4802, 2007 WL 2300737, at *1 (D.N.J.

Aug. 7, 2007).     Such an order is appropriate where defendant “has

‘demonstrated a propensity to leave the country when the heat is

turned up.’” Id. at *2 (quoting Herbstein v. Bruetman, 241 F.3d

586, 588 (7th Cir. 2001)).       Here, plaintiffs and third-party

defendants have not shown that Weinstein has demonstrated such a

propensity to leave the country.          Id.   Unlike in Herbstein, where

the court ordered surrender of the defendant’s passport after the


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 defendant had twice fled the country to avoid litigation and then

 secretly returned, Weinstein has not previously fled the country

 to avoid litigation.      See Herbstein, 241 F.3d at 588-89.        Nor

 have plaintiffs and third-party defendants shown that Weinstein

 has demonstrated an “enduring refusal to cooperate by failing to

 appear.”     Kupperman, 2007 WL 2300737, at *2 (internal quotation

 omitted).     Thus, the Court will not order Weinstein to surrender

 his passport for the pendency of this litigation.

       B.     Detailed List of Assets

       Plaintiffs and third-party defendants argue that Weinstein

 should be made to submit a detailed list of his assets because

 multiple individuals have accused Weinstein of stealing hundreds

 of millions of dollars and none of this money can be found.

 (Pls. Reply Br. at 12.)      Plaintiffs and third-party defendants

 also note that in other litigation involving Weinstein, including

 in the United States District Court for the Eastern District of

 Pennsylvania, courts have ordered Weinstein to produce asset

 lists.     (Id. at 11-12.)   Defendants assert that plaintiffs and

 third-party defendants have not provided a factual or legal basis

 for this extraordinary request, which is premature since

 discovery requests have not yet been served.          (Defs. Br. at 13-

 14; Defs. Sur-Reply Br. at 5-6.)

       The Court finds that it is inappropriate to compel Weinstein

 to submit a detailed list of his assets at this time.           This


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 request by plaintiffs and third-party defendants is premature, as

 it was made before discovery requests had been served on

 Weinstein.    (See Defs. Br. at 14.)       Plaintiffs and third-party

 defendants should use the discovery process to obtain information

 pertaining to Weinstein’s assets.         Also, the court’s order in

 Berger v. Weinstein, 07-994 (E.D. Pa.) requiring Weinstein to

 submit a list of his assets and liabilities to all parties was

 rendered after three days of evidentiary hearings on the

 plaintiff’s motion for a preliminary injunction.          (Certification

 of N. Ari Weisbrot, Ex. B, Order.)         See also Berger v. Weinstein,

 No. 07-994, 2008 WL 191172, at *1 (E.D. Pa. Jan. 23, 2008).

 Thus, the Court will not order Weinstein to submit a detailed

 list of his assets.

                                 CONCLUSION

       The Court, for the reasons stated supra, will (1) deny the

 motion in its entirety without prejudice and with leave to move

 again at the appropriate time, and (2) direct defendants to move

 to file amended counterclaims and an amended third-party

 complaint.    The Court will issue an appropriate order.




                                              s/ Mary L. Cooper
                                           MARY L. COOPER
                                           United States District Judge

 Dated: April 2, 2009



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